     Case: 3:22-cv-50188 Document #: 64 Filed: 08/22/22 Page 1 of 1 PageID #:150

                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Western Division

Deere & Company Repair Services Antitrust
Litigation, et al.
                                                      Plaintiff,
v.                                                                 Case No.:
                                                                   3:22−cv−50188
                                                                   Honorable Iain D.
                                                                   Johnston
Deere & Company
                                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, August 22, 2022:


         MINUTE entry before the Honorable Iain D. Johnston: In light of the numerous
filings regarding the parties' impasse in selecting lead and liaison counsel, the in−person
hearing previously set for 8/26/2022 shall now be conducted telephonically. All counsel
interested in joining any leadership role shall participate in the telephonic status hearing,
and all interested counsel will be given the opportunity to discuss why they should be
given a leadership role. Counsel will receive an email prior to the start of the telephonic
hearing with instructions to join the call. For all others, the call−in number is
888−557−8511 and the access code is 2660444. Persons granted remote access to
proceedings are reminded of the general prohibition against photographing, recording, and
rebroadcasting of court proceedings. Violation of these prohibitions may result in
sanctions. (yxp, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
